        Case 1:21-cr-00158-RC Document 112 Filed 02/06/23 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :
                                           :
                                           :
             V.                            :   CRIMINAL NUMBER 21-158 (RC)
                                           :
                                           :
KYLE FITZSIMONS                            :


                                          ORDER


      AND NOW, this              day of              , 2023, upon consideration of the

Defendant=s Unopposed Motion for Continuance of Sentencing Hearing, it is hereby ORDERED

that the motion is GRANTED. It is hereby

      ORDERED that the Defendant’s Sentencing Hearing will take place on the         day

of                     , 2023.




                                           BY THE COURT:




                                           THE HONORABLE RUDOLPH CONTRERAS
                                           United States District Court Judge
            Case 1:21-cr-00158-RC Document 112 Filed 02/06/23 Page 2 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
               V.                            :       CRIMINAL NUMBER 21-158 (RC)
                                             :
                                             :
KYLE FITZSIMONS                              :


                   DEFENDANT=S UNOPPOSED MOTION
     FOR A FORTY-FIVE (45) DAY CONTINUANCE OF SENTENCING HEARING

       Kyle Fitzsimons, by and through his attorney, Natasha Taylor-Smith, Assistant Federal

Defender, Federal Community Defender Office for the Eastern District of Pennsylvania

respectfully requests a continuance of sentencing hearing for the above captioned case.   As

grounds, counsel avers as follows:

       1.      On April 22, 2021, Mr. Fitzsimons was arraigned before the Honorable Reggie B.

Walton and entered a plea of not guilty to the instant Indictment.

       2.      On December 14, 2021, Mr. Fitzsimons pled not guilty to the superseding

indictment filed on November 10, 2021.

       3.      On May 18, 2022, the Government filed a second superseding Indictment. Mr.

Fitzsimons was arraigned on May 27, 2022 and entered a plea of not guilty.

       4.      Pursuant to a bench trial conducted before this Court which commenced on

August 16, 2022, Mr. Fitzsimons was found guilty.

       5.      In a Scheduling Order issued on September 27, 2022, a sentencing hearing was

scheduled for February 17, 2023.

       6.      Counsel undersigned tendered her resignation from the Federal Defenders Office,

and as such Mr. Fitzsimons’s case will be reassigned to another defender.
               Case 1:21-cr-00158-RC Document 112 Filed 02/06/23 Page 3 of 4




          7.      A continuance is therefore requested to allow replacement counsel to familiarize

themselves with the case and prepare Mr. Fitzsimons for sentencing and the post-sentencing

period.

          8.      Assistant United States Attorneys Douglas B. Brasher and Michael M. Gordon,

does not oppose this request for a continuance.

          WHEREFORE, for the reasons cited and in the interests of justice, this Court is

respectfully requested to grant not less than a forty-five (45) day continuance of the sentencing

hearing.

                                                       Respectfully submitted,


                                                       /s/ Natasha Taylor-Smith
                                                       NATASHA TAYLOR-SMITH
                                                       Assistant Federal Defender
          Case 1:21-cr-00158-RC Document 112 Filed 02/06/23 Page 4 of 4




                             CERTIFICATE OF SERVICE

       I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I have caused a copy of

Defendant’s Motion for Continuance of Sentencing Hearing to be filed and served electronically

through the Eastern District Clerk’s Office Electronic Case Filing (“ECF”) upon:



Douglas B. Brasher
Assistant United States Attorney
United States Attorney’s Office
1100 Commerce Street, 3rd Floor
Dallas, TX 75242



Michael M. Gordon
Assistant United States Attorney’s Office
400 North Tampa Street
Suite 3200
Tampa, FL 33602




                                                     /s/ Natasha Taylor-Smith
                                                     NATASHA TAYLOR-SMITH
                                                     Assistant Federal Defender



DATE: February 6, 2023
